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oo EN EL TRIBUNAL FEDERAL DE PRIMERA INSTANCIA
DEL DISTRITO DE COLORADO

Nro. de Causa Penal 22-cr-00328-NYW
LA FISCALIA FEDERAL DE EEUU,
Parte acusatoria,

contra

VICTOR MANUEL GAMBOA-GAMBOA,

E! Imputado.

 

DECLARACION DEL IMPUTADO EN ANTELACION A SU
RECONOCIMIENTO DE CULPABILIDAD

 

Reconozco y certifico que se me han informado y entiendo los siguientes hechos
y derechos, que toda la informaci6n incluida en este documento es verdadera y correcta
y que mi defensor me ha ayudado a revisar y a llenar el mismo.
1. Mi defensor me ha explicado la naturaleza de las acusaciones en mi contra.
He tenido la oportunidad de hablar con él, tanto de la naturaleza de las acusaciones
como de los elementos que la Fiscalia Federal tiene la obligacién de probar.
2. Sé que cuando el Juez me imponga la pena, tendra en cuenta numerosos
factores. Estos estan enumerados en el articulo 3553 del Capitulo 18 del Cédigo Federal,
| e incluyen: a) la naturaleza y las circunstancias del ilicito y mi historial y cualidades
personales, b) la necesidad de que Ia pena refleje la gravedad del ilicito, que promueva
respeto a la ley, que castigue justamente al delito, que disuada la conducta delictiva, que
proteja al puiblico y me brinde capacitacién, asistencia y tratamiento correccional

necesarios de la manera mas efectiva, c) los tipos de condenas que el Juez tiene a su

    
   
   

disposicion, d) las pautas recomendadas de penas establecidas por el Comite de
Sentencias de los EEUU, e) las declaraciones de politicas pertinentes de dicho Comité,

f) la necesidad de evitar la disparidad entre las penas impuestas a imputados con

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antecedentes penales similares que han sido hallados culpable por conductas similares
y g) la necesidad de reparar el dafio. Ninguno de estos factores es determinante o
decisivo. Reconozco que es posible que después de que el Juez tome en cuenta todos
estos factores, me podria imponer una pena severa en mi causa que incluya una que
sea el periodo maximo de prisi6n, la multa maxima, la reparacién completa del dafo (si
aplicara), un periodo maximo de libertad vigilada y un recargo especial, como se
establecen en el parrafo 3 a continuaci6n.

3. Sé que las siguientes, son las sanciones a imponerme como resultado de
mi declaracién de culpable:

Al punto acusatorio nro. 1 del escrito de acusaci6n que me imputa de violar
el art. 1326(a) del Capitulo 8 del Codigo Federal: reingreso ilicito al pais por parte
de una extranjero previamente deportado, posterior a una condena por delito,
eceptando que aplica un aumento de la pena segin el art. 1326(b}(1) del Cap. 8 del

a. Un periodo de prisiédn que no exceda de 10 afios,

b. Un perijodo de libertad vigilada que no exceda de 3 afios, conforme a lo
dispuesto en el articulo 3583 del Capitulo 18 del Codigo Federal,

c. Una muita que no exceda de $250,000, conforme a la ley que reconozco
que he quebrantado y/o a la Tabla Alternativa de Multas, segun lo establece ei articulo
3571 del Capitulo 18 del Codigo Federal,

d. Lareparacion del dafio causado a las victimas de mis delitos que no exceda
de $__, conforme a los articulos 3663, 3663A y 3664 del Capitulo 18 del Cédigo
Federal,

e. Un recargo especial de $100, conforme al articulo 3013 del Capitulo 18 del
Cédigo Federal.

4. Sé que, si me condenan por mas de un punto acusatorio, las penas a

imponerme podria cumplirlas ya sea simultaneamente (a la misma vez) o de manera

sucesiva (a cumplir por separado o una después de la otra) a menos que la sanci6én que

No

 

 
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estipula la ley por un delito de condena exija expresamente que la pena a imponer se
haya de cumplir de manera sucesiva.

5. Sé que ademas de todas las sanciones que el Juez me pueda imponer,
habra repercusiones adicionales por mi declaracién de culpable de un delito. El Juez ni
las impone ni tiene autoridad en cuanto a ellas. Por ejemplo, si me declaro culpable, esto
podra resultar en la suspensi6én de garantias constitucionales, incluidas, pero no
limitadas al derecho de poseer armas de fuego, de ejercer sufragio, de ser funcionario
publico y de formar parte de un jurado. Y si no soy ciudadano estadounidense, estas
consecuencias podran incluir mi deportacién de EEUU o reclusién indefinida si no
pueden deportarme a algun pais y que se me niegue tanto la entrada a EEUU como la
posibilidad de obtener la ciudadania estadounidense en el futuro.

6. Sé que, si me imponen un periodo de libertad vigilada como parte de mi
condena, ésta comenzara a contar después de mi excarcelacién, con relaci6én a todos
los periodos de reclusién que impongan éste y cualquier otro juez.

7. Sé que no existe la libertad preparatoria en el sistema federal y que tendré
la obligaci6n de cumplir la pena de prisién impuesta en mi causa en su totalidad, que
solo podra reducirse por buena conducta y/o por permisos que establezca el Congreso
y que aplique la Penitenciaria Federal (BOP).

8. Sé que, si me imponen una multa o la reparacién del dafio como parte de
mi condena, tendré la obligacién de pagar intereses por cualquier monto de mas de
$2,500, a menos que éstas se hayan pagado en su ftotalidad antes del decimoquinto dia
después de la sentencia o a menos que el Juez me exima del pago de los intereses.

9. Sé que, si me imponen una multa o la reparacién del dafio como parte de
mi condena, tendré que pagarla a tiempo. El no hacerlo podra desencadenar sanciones
monetarias, cobranzas por parte de la Fiscalia, la posible revocatoria de todo periodo de

régimen probatorio o de libertad vigilada, y/o exponerme a un proceso judicial por “estar

 

 
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en mora por no efectuar pagos relacionados a una causa penal” segtin el articulo 3615
del Capitulo 18 del Cédigo Federal.

10. Sé que tengo el derecho a que me represente un defensor durante todas
las etapas del proceso en esta causa y sé que, si no tengo los medio para contratar uno,
se me nombrara uno de oficio, o sea, sin costo alguno para mi.

11. Sé que cuento con el derecho de declararme “inocente” y sé que, si lo
hago, puedo mantener esa declaraci6n de “inocente” y exigir un juicio oral.

12. Sé que tengo el derecho de exigir un juicio oral con jurado y que si decido
proceder a un juicio oral:

a. Tengo el derecho a la asistencia de un abogado durante todas las etapas
del proceso,

b. Tengo el derecho de ver y de observar a los testigos de cargo,
c. Midefensor podra contrainterrogar a todos los testigos de cargo,

d. Puedo convocar y presentar a aquellos testigos que considere pertinentes
si lo deseo y puedo obtener citatorios judiciales que los obligue a
comparecer y a testificar,

e. Sino tengo los medios econémicos para pagar los gastos y costos de los
testigos, que la Fiscalia Federal los cubrira, incluido las millas y los gastos
de viaje, incluido los costos razonables que facturen los peritos,

f. | No me pueden obligar a incriminarme a mi mismo ni a testificar en juicio
oral alguno,

g. Noobstante, puedo testificar en mi juicio oral si asi lo decido y no tengo
que tomar esta decisi6n hasta después de haber escuchado todo acerca
de las pruebas que la Fiscalia Federal tiene en mi contra,

h. Si decido no testificar en el juicio oral, se le informara a los miembros de!
jurado que no pueden llegar a la conclusién de que soy culpable ni a llegar
a un veredicto adverso contra mi si decido no hacerlo,

i. Con el fin de que se me condene, la Fiscalia Federal debera probar todos
y cada uno de los elementos del ilicito del que me acusa sin que quepa
duda razonada,

j. Con el fin de que se me condene, el jurado debera llegar a un veredicto
unanime, lo que significa que todos los miembros del jurado deben estar
de acuerdo de que soy culpable y

 

 
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k. Sise me condenara, mas adelante podria apelar tanto la condena como !a
pena que el Juez pueda imponerme y si no tengo los medios para pagar
los gastos de la apelacién, que el gobierno cubriria esos costos, incluido el
costo de un abogado de oficio.

13. Sé que si me declaro culpable no habra juicio alguno.

14. Sé que si me declaro culpable no habra una revisién de apelacién en
cuanto a si soy culpable o no de los delitos a los cuales me declaré culpable.

15. Sé que los términos de mi convenio resolutorio con la Fiscalia Federal
incluyen una renuncia a mi derecho a la apelacion o a la impugnacion indirecta de la
condena. A causa de esto, sé que no puedo solicitar una revisién por apelaci6én, 1) a la
pena impuesta por el Juez en esta causa, 2), a la negacidn de todo pedimento radicado
segun el art. 3582(c)(1)(A), comunmente conocido como la Libertad por Compasién 0, 3)
toda condena impuesta por debajo o dentro de la escala penal una vez se me revoque
la libertad vigilada excepto por circunstancias limitadas, si las hubiere y que esién
permitidas por mi Convenio Resolutorio.

16. No se ha llegado a acuerdo alguno ni se me ha prometido una condena
especifica en esta causa, excepto aquellas que estan pormenorizadas explicitamente en
el documento titulado “Convenio Resolutorio”, el cual hemos firmado tanto la Fiscalia
como yo. Entiendo ademas que todos los acuerdos y estipulaciones en cuanto a la pena
en dicho documento son ejecutorios para el Juez solamente en el caso de pedirle las
partes que los acepte conforme a la Regla 11(c)(1)(C) y solamente si el Juzgado acepte
seguirlos cuando acepte mi declaracién de culpable.

17. El unico acuerdo al que se ha llegado con la Fiscalia es el que se expone
en el documento titulado “Convenio Resolutorio” que tanto yo como la Fiscalia Federal
hemos firmado y que se incorpora en el presente como referencia.

18. Entiendo que el Juez no tomara una decisién en cuanto a mi pena hasta

que se redacte un Informe Precondenatorio por parte de la Agencia del Régimen a

Prueba y hasta que el Juez lo haya recibido y estudiado.
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19. Sé que cuando me declare culpable, el Juez me podra hacer preguntas
bajo juramento acerca del delito al cual me voy a declarar culpable. Si se me hacen
preguntas de manera oficial y con mi defensor presente, debo responderlas y si presto
testimonio falso podria procesarseme por perjurio.

20. Sé que tengo el derecho de hacerle preguntas al Juez, si las tengo, con
respecto a mis derechos, a estas diligencias y a mis declaraciones en cuanto a las
acusaciones.

21. Tengo 40) afios. Mi nivel educacional es de_ anos [Sé] [No sé]
hablar inglés. (Haga un circulo donde corresponda). No estoy tomando medicamentos
que interfieran en mi capacidad de entender las diligencias en esta causa o que puedan
tener un efecto o afecten mi capacidad de decidir declararme culpable o no.

22. Excepto las promesas que me ha dado la Fiscalia Federal descritas en el
documento titulado “Convenio Resolutorio”, no he recibido otras promesas ni amenazas
de alguna otra indole que me obliguen o me persuadan a declararme culpable en esta
causa.

23. Nadie me ha prometido que recibiré una pena de Regimen Probatorio,
Arresto Domiciliario u otra pena especifica que desee a cambio de declararme culpable.

24. He tenido amplia oportunidad de hablar de la causa y de mi intencion de
declararme culpable con mi defensor. No deseo volver a consultar con mi defensor antes
de presentar mi declaraci6n de culpable.

25. Estoy satisfecho con los servicios de mi defensor. Creo que me ha
representado de manera eficaz y competente en esta causa.

26. He tomado la decision de presentar mi declaracién de culpable después de
analizarlo detenidamente, con la asesoria de mi defensor y comprendiendo totalmente
mis derechos, los hechos y las circunstancias de la causa y las posibles repercusiones

de mi declaracién de culpable. No me encontraba bajo los efectos de droga,

 

 
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medicamento o bebida embriagante alguna que afectara mi capacidad de tomar
decisiones cuando decidi presentar mi declaracién de culpable. En este momento no me
encuentro bajo los efectos de dichas drogas, medicamentos 0 bebidas embriagantes.

27. Quiero declararme culpable y no me quedan dudas de que esa es mi
decisi6n.

28. El resumen de hechos expuestos en el documento titulado “Convenio
Resolutorio” es verdadero y correcto en lo que a mi conducta se refiere, excepto como lo
haya indicado en ese documento.

29. Sé que tengo la libertad de modificar o borrar cualquier comentario incluido
en este documento y ademas que puedo enumerar mis oposiciones y desacuerdos con
respecto a cualquier comentario del documento titulado “Convenio Resolutorio”. Acepto
ambos documentos como estan actuaimente redactados.

30. Es mi deseo declararme culpable a la siguiente acusacion: al punto
acusatorio nro. 1 del escrito de acusacion que me imputa de violar el art. 1326(a)
del Capitulo 8 del Codigo Federal: reingreso ilicito al pais por parte de una

extranjero previamente deportado, posterior a una condena por delito, aceptando
que aplica un aumento de la pena segun el art. 1326(b)(1) del Cap. 8 del C. F.:

c
Fecha: Al de dave de 2023.

UiCte  Ggutna
VICTOR MANUEL GAMBOA-GAMBOA
Imputado

Certifico que he repasado este documento y el documento titulado “Convenio
Resolutorio” con el imputado. Certifico que le he explicado al imputado todos sus
derechos y lo he ayudado a llenar este formulario. Es mi criterio que el imputado
comprende sus derechos y esta declaracion.

ry
Fecha: Al" de “on . de 2023.

 

JOSIA LILLEYZ
Defensor PUblico Federal

Translated by Monica Licea-Castro, Federally Certified Court Interpreter, staff Interpreter
for the Federal Public Defender of Colorado and Wyoming on January 26, 2023.

 

 
